       Case 2:14-cr-00210-JAM Document 94 Filed 08/11/16 Page 1 of 3


 1   LAW OFFICES OF SCOTT L. TEDMON
     A Professional Corporation
 2
     SCOTT L. TEDMON, CA. BAR # 96171
 3   980 Ninth Street, 16th Floor
     Sacramento, California 95814
 4   Telephone: (916) 449-9985
     Facsimile: (916) 446-7104
 5

 6   Attorney for Defendant
     LEONARD WALTER
 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                  )
11   UNITED STATES OF AMERICA,                    )   Case No. 2:14-CR-0210-JAM
                                                  )
12                                                )   STIPULATION REGARDING
                            Plaintiff,            )   EXCLUDABLE TIME PERIODS
13                                                )   UNDER THE SPEEDY TRIAL ACT;
             vs.                                  )
14                                                )   FINDINGS AND ORDER
     JAMES CLINE, et al.,                         )
15                                                )   DATE: August 16, 2016
                            Defendants.           )   TIME: 9:15 a.m.
16                                                )   JUDGE: John A. Mendez
                                                  )
17

18           Plaintiff United States of America, by and through Assistant United States

19   Attorney Jason Hitt; defendant Leonard Walter, by and through counsel Scott L.
20
     Tedmon; and defendant James Cline, by and through counsel Danny D. Brace, Jr.,
21
     hereby agree and stipulate as follows:
22
         1. By previous order, this matter was set for status conference on August 16,
23

24           2016 at 9:15 a.m.

25       2. By this stipulation, the parties now move to continue the status conference to
26
             Tuesday, September 27, 2016 at 9:15 a.m., and to exclude time between
27
             August 16, 2016 and September 27, 2016 under Local Code T4.
28
         3. The parties agree and stipulate, and request the Court find the following:


     Stipulation; [Proposed] Findings and Order                     Case No. 2:14-CR-0210-JAM
                                                  1
       Case 2:14-cr-00210-JAM Document 94 Filed 08/11/16 Page 2 of 3


 1           a) Defense counsel needs additional time to review the case, which includes
 2
                  government produced discovery. Additionally, defense counsel needs
 3
                  additional time to consult with their respective client regarding the status
 4
                  of the case, conduct defense research and investigation, and discuss the
 5

 6                possibility of a plea resolution with the government.

 7           b) Defense counsel believes the failure to grant the above-requested
 8
                  continuance would deny each defendant reasonable time necessary for
 9
                  effective preparation, taking into account the exercise of due diligence.
10
                  Counsel for the government has no objection to this request for additional
11

12                time to prepare the case.

13           c) Based on the foregoing, the ends of justice served by continuing the case
14
                  as requested outweigh the best interest of the public and the defendants
15
                  in a speedy trial within the original date prescribed by the Speedy Trial
16
                  Act.
17

18           d) For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

19                3161, et seq., within which trial must commence, the time period of
20
                  August 16, 2016 to September 27, 2016, inclusive, is deemed excludable
21
                  pursuant to 18 U.S.C. § 3161(h)(7)(A), (B)(iv) [Local Code T4] because it
22
                  results from a continuance granted by the Court at the defendants request
23

24                on the basis of the Court’s finding that the ends of justice served by taking

25                such action outweigh the best interest of the public and defendants in a
26
                  speedy trial.
27
         4. Nothing in this stipulation and order shall preclude a finding that other
28
             provisions of the Speedy Trial Act dictate that additional time periods are


     Stipulation; [Proposed] Findings and Order                         Case No. 2:14-CR-0210-JAM
                                                  2
       Case 2:14-cr-00210-JAM Document 94 Filed 08/11/16 Page 3 of 3


 1           excludable from the period within which a trial must commence.
 2
             IT IS SO STIPULATED.
 3
     DATED: August 10, 2016                             PHILLIP A. TALBERT
 4                                                      Acting United States Attorney
 5
                                                        /s/ Jason Hitt
 6                                                      JASON HITT
                                                        Assistant U.S. Attorney
 7
     DATED: August 10, 2016                             LAW OFFICES OF SCOTT L. TEDMON
 8

 9                                                      /s/ Scott L. Tedmon
                                                        SCOTT L. TEDMON
10                                                      Attorney for Defendant Leonard Walter
11
     DATED: August 10, 2016                             LAW OFFICES OF DANNY D. BRACE, JR.
12
                                                        /s/ Danny D. Brace, Jr.
13                                                      DANNY D. BRACE, Jr.
                                                        Attorney for Defendant James Cline
14

15

16                                      FINDINGS AND ORDER
17

18           IT IS SO FOUND AND ORDERED.

19   DATED: August 11, 2016
20
                                                  /s/ John A. Mendez__________
21                                                JOHN A. MENDEZ
                                                  United States District Court Judge
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     Stipulation; [Proposed] Findings and Order                              Case No. 2:14-CR-0210-JAM
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